                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:04cr201-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                      ORDER
                                    )
VINTAGE PHARMACEUTICALS, INC., )
WILLIAM PROPST, SR.,                )
WILLIAM PROPST, JR.                 )
____________________________________)

        This matter is before the court upon its own motion. A discovery status hearing was held
on May 1, 2006. At the hearing, the court provided the parties with guidance as to what the court
expects of the government with regard to its obligations under the Discovery Order of April 3,
2006. The parties have been provided with transcripts of that hearing. At this time, the court is
of the opinion that no formal order be issued in connection with the discovery status hearing.
Should further disputes arise with regard to the Discovery Order, the court will entertain those
disputes at the appropriate time.
        IT IS SO ORDERED.

                                                Signed: May 24, 2006




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